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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF OKLAHOMA

CHARLINE M. BEENE,                     )
                                       )
             Plaintiff,                )
                                       )
v.                                     )      Case No. CIV-17-141-RAW
                                       )
MILTON ANTHONY, individually, and      )
CARTER COUNTY, a political             )
subdivision sued in the name of the    )
Board of County Commissioners of       )
Carter County,                         )
                                       )
             Defendants.               )


                  STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff and Defendants jointly stipulate that the above-styled case should be

dismissed with prejudice. These parties will bear their own fees and expenses.




                                              Respectfully submitted,

                                              s/ Ambre C. Gooch
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                                              subdivision sued in the name of the
                                              Board of County Commissioners of
                                              Carter County
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                                                 permission of Mark Hammons)
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                              CERTIFICATE OF SERVICE

       I hereby certify that on October 16, 2017, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a
Notice of Electronic Filing to the following ECF registrants:

       Mark Hammons – via electronic mail: cheri@hammonslaw.com
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                                         s/ Ambre C. Gooch
                                         Ambre C. Gooch




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